 Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 1 of 36. PageID #: 18232




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION
OPIATE LITIGATION                           MDL No. 2804

This document relates to:                   Case No. 17-md-2804
Cleveland Bakers and Teamsters Health and
Welfare Fund v. Purdue Pharma L.P.,         Hon. Dan Aaron Polster
No. 18-op-45432


                     MEMORANDUM IN SUPPORT OF THE
                    MANUFACTURER DEFENDANTS’ JOINT
                MOTION TO DISMISS THE AMENDED COMPLAINT
     Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 2 of 36. PageID #: 18233




                                                     TABLE OF CONTENTS

Introduction ..................................................................................................................................... 1

Legal Standard ................................................................................................................................ 3

Argument ........................................................................................................................................ 3

I.         Plaintiffs have not suffered any cognizable injuries caused by the manufacturer
           defendants. .......................................................................................................................... 3

II.        The RICO marketing enterprise claim fails (Count 1)........................................................ 7

           A.         Plaintiffs have not suffered a cognizable RICO injury. .......................................... 7

           B.         Plaintiffs have not pleaded direct or proximate causation. ..................................... 8

           C.         Plaintiffs have not pleaded an enterprise. ............................................................... 9

           D.         Plaintiffs have not pleaded actionable racketeering activity................................... 9

III.       The RICO supply-chain enterprise claim fails (Count 2). ................................................ 10

           A.         Plaintiffs lack standing and improperly seek to circumvent the Controlled
                      Substances Act. ..................................................................................................... 10

           B.         Plaintiffs have not pleaded direct or proximate causation. ................................... 11

           C.         Plaintiffs have not pleaded an enterprise. ............................................................. 12

           D.         Plaintiffs have not pleaded actionable racketeering activity................................. 12

IV.        The state-law claims are preempted. ................................................................................. 13

V.         The OCPA claims fail (Counts 3 and 4). .......................................................................... 14

VI.        OPLA abrogates the common-law and statutory public nuisance claims (Counts 5
           and 6). ............................................................................................................................... 15

VII.       The common-law public nuisance claim fails (Count 6). ................................................. 15

VIII.      The statutory public nuisance claim fails (Count 5). ........................................................ 16

IX.        The negligence claim fails (Count 7). ............................................................................... 17

X.         The fraud claim fails (Count 8). ........................................................................................ 18

XI.        The injury through criminal acts claim fails (Count 9)..................................................... 19
  Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 3 of 36. PageID #: 18234




XII.       The unjust enrichment claim fails (Count 10). ................................................................. 19

XIII.      The civil-conspiracy claim fails (Count 11). .................................................................... 20

XIV. All claims should be dismissed, in part, as time-barred. .................................................. 20

           A.         The applicable statutes of limitations bar the claims. ........................................... 20

           B.         No exception to the limitations periods applies. ................................................... 21

Conclusion .................................................................................................................................... 22




                                                                        ii
  Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 4 of 36. PageID #: 18235




                                               TABLE OF AUTHORITIES

Cases

Aaron v. Durrani,
   2014 WL 996471 (S.D. Ohio Mar. 13, 2014) ..........................................................................14

In re Actimmune Mktg. Litig.,
    2010 WL 3463491 (N.D. Cal. Sept. 1, 2010) ............................................................................7

In re Actimmune Mktg. Litig.,
    614 F. Supp. 2d 1037 (N.D. Cal. 2009) .....................................................................................6

Allegheny Gen. Hosp. v. Philip Morris, Inc.,
    228 F.3d 429 (3d Cir. 2000).......................................................................................................9

Am. Premier Underwriters, Inc. v. Nat’l R.R. Passenger Corp.,
   839 F.3d 458 (6th Cir. 2016) ...................................................................................................20

Anza v. Ideal Steel Supply Corp.,
   547 U.S. 451 (2006) ............................................................................................................... 8-9

Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007) .............................................................................................................3, 22

In re Bextra and Celebrex Mktg. Sales Practices and Prod. Liab.,
    2012 WL 3154957 (N.D. Cal. Aug. 2, 2012) ............................................................................7

Boladian v. UMG Recordings, Inc.,
   123 Fed. Appx. 165 (6th Cir. 2005) .........................................................................................19

Boyle v. United States,
   556 U.S. 938 (2009) ...................................................................................................................9

Brown v. Scioto Cty. Bd. of Commrs.,
   622 N.E.2d 1153 (Ohio App. 1993).........................................................................................17

Cap City Dental Lab, LLC v. Ladd,
   2016 WL 4573993 (S.D. Ohio Sept. 1, 2016) .........................................................................15

Cen. Reg’l Empl. Benefit Fund v. Cephalon, Inc.,
   2010 WL 1257790 (D.N.J. March 29, 2010) .............................................................................7

Chambers v. St. Mary’s Sch.,
   697 N.E.2d 198 (Ohio 1998) ...................................................................................................18

Chandler v. Wackenhut Corp.,
   465 Fed. Appx. 425 (6th Cir. 2012) .........................................................................................21



                                                                    iii
  Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 5 of 36. PageID #: 18236




City of Cincinnati v. Beretta,
    768 N.E.2d 1136 (Ohio 2002) .................................................................................................16

Cleveland Hous. Renewal Project, Inc. v. Wells Fargo Bank, N.A.,
   934 N.E.2d 372 (Ohio App. 2010)...........................................................................................16

Dist. 1199P Health & Welfare Plan v. Janssen, L.P.,
   2008 WL 5413105 (D.N.J. Dec. 23, 2008) ................................................................................7

Dist. 1199P Health & Welfare Plan v. Janssen, L.P.,
   784 F. Supp. 2d 508 (D.N.J. 2011) ........................................................................................6, 8

Emp’r Teamsters-Local Nos. 175/505 Health & Welfare Trust Fund v. Bristol
  Myers Squib Co.,
  969 F. Supp. 2d 463 (S.D. W.Va. 2013) ....................................................................................6

In re Epogen & Aranesp Off-Label Mktg. & Sales Practices Litig.,
    2009 WL 1703285 (C.D. Cal. June 17, 2009) ...........................................................................7

In re Epogen & Aranesp Off-Label Mktg. & Sales Practices Litig.,
    590 F. Supp. 2d 1282 (C.D. Cal. 2008) .....................................................................................6

Gould Elecs., Inc. v. Livingston Cty. Road Comm’n,
   2012 WL 5817937 (E.D. Mich. May 25, 2012).......................................................................22

Graham v. American Cyanamid Co.,
   350 F.3d 496 (6th Cir. 2003) ...................................................................................................18

Grover v. Eli Lilly & Co.,
   591 N.E.2d 696 (Ohio 1992) ...................................................................................................17

Hoffer v. Cooper Wiring Devices, Inc.,
   2007 WL 1725317 (N.D. Ohio June 13, 2007)........................................................................20

Holmes v. SIPC,
   502 U.S. 258 (1992) ............................................................................................................... 8-9

Ind./Ky./Ohio Reg’l Council of Carpenters Welfare Fund v. Cephalon, Inc.,
    2014 WL 2115498 (E.D. Pa. May 21, 2014) .......................................................................7, 10

Ironworkers Local Union 68 v. AstraZeneca Pharm., LP,
    634 F.3d 1352 (11th Cir. 2011) .............................................................................................6, 8

Ironworkers Local Union No. 68 v. AstraZeneca Pharm. LP,
    585 F. Supp. 2d 1339 (M.D. Fla. 2008) .....................................................................................6

Jackson v. Sedgwick Claims Mgmt. Servs., Inc.,
   731 F.3d 556 (6th Cir. 2013) .....................................................................................................8



                                                                   iv
  Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 6 of 36. PageID #: 18237




Jeffers v. Olexo,
    539 N.E.2d 614 (Ohio 1989) ...................................................................................................17

Johnson v. Microsoft Corp.,
   834 N.E.2d 791 (Ohio 2005) ............................................................................................. 19-20

Klehr v. A.O. Smith Corp.,
   521 U.S. 179 (1997) .................................................................................................................21

Kramer v. Angel’s Path, L.L.C.,
   882 N.E.2d 46 (Ohio App. 2007).............................................................................................16

Lucarell v. Nationwide Mut. Ins. Co.,
   97 N.E.3d 458 (Ohio 2018) .....................................................................................................19

Lutz v. Chesapeake Appalachia, L.L.C.,
   717 F.3d 459 (6th Cir. 2013) ...................................................................................................21

Martin v. Lambert,
  8 N.E.3d 1024 (Ohio App. 2014).............................................................................................17

Meros v. Dimon,
   2017 WL 6508723 (S.D. Ohio Dec. 20, 2017) ........................................................................21

Mut. Pharm. Co. v. Bartlett,
   570 U.S. 472 (2013) .................................................................................................................13

Nat’l R.R. Passenger Corp. v. Morgan,
   536 U.S. 101 (2002) .................................................................................................................21

Ouwinga v. Benistar 419 Plan Servs., Inc.,
  694 F.3d 783 (6th Cir. 2012) .....................................................................................................9

Pa. Emp. Benefit Trust Fund v. Zeneca, Inc.,
    710 F. Supp. 2d 458 (D. Del. 2010) ...........................................................................................6

Perdue v. Wyeth Pharm., Inc.,
   209 F. Supp. 3d 847 (E.D.N.C. 2016)......................................................................................14

Perry v. Am. Tobacco Co.,
   324 F.3d 845 (6th Cir. 2003) .............................................................................................1, 4, 6

Rahimi v. St. Elizabeth Med. Ctr.,
   1997 WL 33426269 (S.D. Ohio July 16, 1997) .......................................................................15

Randleman v. Fid. Nat’l Title Ins. Co.,
   465 F. Supp. 2d 812 (N.D. Ohio 2006) ....................................................................................20




                                                                    v
  Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 7 of 36. PageID #: 18238




Rivera v. Wyeth-Ayerst Labs.,
   283 F.3d 315 (5th Cir. 2002) .....................................................................................................5

Rogozinsky v. Danek Med., Inc.,
   1999 WL 33537323 (N.D. Ohio July 9, 1999) ........................................................................18

In re Schering Plough Corp. Intron/Temodar Consumer Class Action,
    2010 WL 2346624 (D.N.J. June 9, 2010), aff’d, 678 F.3d 235 (3d Cir. 2012) .........................7

In re Schering Plough Corp. Intron/Temodar Consumer Class Action,
    678 F.3d 235 (3d Cir. 2012).......................................................................................................6

In re Schering-Plough Corp. Intron/Temodar Consumer Class Action,
    2009 WL 2043604 (D.N.J. July 10, 2009) .................................................................................7

Se. Laborers Health and Welfare Fund v. Bayer Corp.,
    655 F. Supp. 2d 1270 (S.D. Fla. 2009) ..................................................................................6, 8

Sidney Hillman Health Center v. Abbott Laboratories,
   873 F.3d 574 (7th Cir. 2017) ................................................................................................. 4-6

Strayhorn v. Wyeth Pharm., Inc.,
    737 F.3d 378 (6th Cir. 2013) ...................................................................................................13

Teamsters Local 237 Welfare Fund v. AstraZeneca Pharm. LP,
   136 A.3d 688 (Del. 2016) ..........................................................................................................4

Travelers Indem. Co. v. Cephalon, Inc.,
   32 F. Supp. 3d 538 (E.D. Pa. 2014), aff’d, 620 Fed. Appx. 82 (3d Cir. 2015) ...................... 5-6

Trollinger v. Tyson Foods, Inc.,
   370 F.3d 602 (6th Cir. 2004) ................................................................................................. 7-8

United Food & Commercial Workers Cent. Pa. & Reg. Health & Welfare Fund v.
   Amgen, Inc.,
   400 Fed. Appx. 255 (9th Cir. 2010) ...........................................................................................6

In re Whirlpool Corp. Front-Loading Washing Prods. Liab. Litig.,
    684 F. Supp. 2d 942 (N.D. Ohio 2009) ....................................................................................20

White v. Smith & Wesson,
   97 F. Supp. 2d 816 (N.D. Ohio 2000) ......................................................................................19

Williams v. Purdue Pharma Co.,
   297 F. Supp. 2d 171 (D.D.C. 2003) ....................................................................................... 7-8

In re Yasmin & Yaz Mktg., Sales Practices & Prods. Liab. Litig.,
    2010 WL 3119499 (S.D. Ill. Aug. 5, 2010) ...............................................................................7



                                                                  vi
  Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 8 of 36. PageID #: 18239




Young v. Carrier Corp.,
   2014 WL 6617650 (N.D. Ohio Nov. 21, 2014) .......................................................................20

Zogenix, Inc. v. Patrick,
   2014 WL 1454696 (D. Mass. Apr. 15, 2014) ..........................................................................14

Statutes

18 U.S.C. §1341 ...............................................................................................................................9

18 U.S.C. §1343 ...............................................................................................................................9

21 U.S.C. §842(a)(5)......................................................................................................................13

21 U.S.C. §842(c) ..........................................................................................................................13

21 U.S.C. §843(a)(4)......................................................................................................................13

21 U.S.C. §843(a)(4)(A) ................................................................................................................15

Controlled Substances Act, 21 U.S.C. §§801 et seq. .....................................................................11

Ohio Product Liability Act, Ohio Rev. Code §§2307.71 et seq. ...................................................15

Ohio Rev. Code §2923.31(I)..........................................................................................................14

Ohio Rev. Code §2923.31(A)(I) ....................................................................................................14

Ohio Rev. Code §2923.31(E).........................................................................................................15

Ohio Rev. Code §2923.34(A) ........................................................................................................15

Rules and Regulations

21 CFR §§1301.71-1301.74...........................................................................................................11

21 CFR §1301.74(b) ......................................................................................................................13

Fed. R. Civ. P. 9(b) .................................................................................................... 3, 9, 13-14, 18




                                                                      vii
 Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 9 of 36. PageID #: 18240




                           TABLE OF MDL CASE DOCUMENTS

       For the Court’s convenience, here is a list of case documents cited in this brief. All docket-

entry numbers are in the main MDL case, N.D. Ohio No. 17-md-2804.

 Citation             Docket No. Full title

 1AC                  Dkt. 635       Amended Complaint, Cleveland Bakers and Teamsters
                                     Health and Welfare Fund v. Purdue Pharma L.P., No. 18-
                                     op-45432 (June 18, 2018)

 CMO One              Dkt. 232       Case Management Order One, In re Nat’l Prescription
                                     Opiate Litig. (April 11, 2018)

 Summit 2AC           Dkt. 514       Corrected Second Amended Complaint and Jury Demand,
                                     County of Summit, Ohio v. Purdue Pharma L.P., No. 18-
                                     op-45090 (May 29, 2018)

 Summit MTD           Dkt. 499-1     Memorandum of Law in Support of the Manufacturer
                                     Defendants’ Joint Motion to Dismiss Plaintiffs’ Second
                                     Amended Complaint, County of Summit, Ohio v. Purdue
                                     Pharma L.P., No. 18-op-45090 (May 25, 2018)

 Summit Distribs.’    Dkt. 491-1     Memorandum in Support of Distributors’ Motion to
 MTD                                 Dismiss Second Amended Complaint, County of Summit,
                                     Ohio v. Purdue Pharma L.P., No. 18-op-45090 (May 25,
                                     2018)

 Summit Reply         Dkt. 746       Reply in Support of the Manufacturer Defendants’ Joint
                                     Motion to Dismiss Plaintiffs’ Second Amended Complaint,
                                     County of Summit, Ohio v. Purdue Pharma L.P., No. 18-
                                     op-45090 (July 13, 2018)

 West Boca Compl.     Dkt. 385       Complaint, West Boca Med. Ctr., Inc. v.
                                     AmerisourceBergen Drug Corp., No. 18-op-45530 (May 7,
                                     2018)

 West Boca MTD        Dkt. 691-1     Memorandum of Law in Support of the Manufacturer
                                     Defendants’ Joint Motion to Dismiss Plaintiff’s Complaint,
                                     West Boca Med. Ctr., Inc. v. AmerisourceBergen Drug
                                     Corp., No. 18-op-45530 (June 29, 2018)




                                                viii
    Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 10 of 36. PageID #: 18241




                                          INTRODUCTION

         Plaintiffs, a pair of Ohio-based union health and welfare funds, seek to hold a handful of

pharmaceutical manufacturers liable for costs the funds claim to have incurred as a result of the

nation’s opioid crisis. Like the Summit and West Boca plaintiffs, these plaintiffs primarily assert

claims for the downstream harm that results after individuals have become addicted to opioids,

such as treatment for addiction, overdose, or similar medical ills. Those claims against the

manufacturer defendants,1 however, fail for the same reasons set forth in the Summit and West

Boca motions to dismiss, including that such harms are too remote and indirect to provide a viable

basis for suit. In fact the Sixth Circuit has already held that these sorts of medical costs are too

remote and indirect to permit recovery against manufacturers. Perry v. Am. Tobacco Co., 324 F.3d

845, 849 (6th Cir. 2003). That ruling is dispositive of these claims.

         Perhaps recognizing this fatal flaw, plaintiffs attempt to plead around it by adding an injury

they hope appears more direct: the actual costs of prescription opioids for which the funds either

paid or reimbursed their plan enrollees. But this add-on does not save plaintiffs’ case.

         For one thing, the posited causal chain is fatally attenuated and implausible. Under

plaintiffs’ legal theory, (a) physicians chose to prescribe opioid medications to plaintiffs’ enrollees

because of the manufacturer defendants’ supposed misrepresentations, rather than the physicians’



1
         This motion incorporates the definition of “manufacturer defendants” set forth in Summit
MTD at 1 n.2, plus Par Pharmaceutical, Inc.; Par Pharmaceutical Companies, Inc.; and SpecGx
LLC. Defendant Noramco, Inc., a company referenced in the amended complaint as a former
affiliate of Johnson & Johnson, see 1AC ¶52, joins this motion to the extent applicable. Noramco
does not (and did not at all material times relevant hereto) manufacture, package, brand, market,
distribute, or sell the finished drug products at issue in this litigation, and it reserves all rights and
defenses specific to it. Also, although the arguments raised here apply equally to Teva
Pharmaceutical Industries Ltd., Allergan plc, and Mallinckrodt plc, these parties do not join this
motion for the reasons stated in Summit MTD at 1 n.2.
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 11 of 36. PageID #: 18242




independent medical judgment; (b) those supposed misrepresentations caused pharmacy benefit

managers—expert organizations comprising physicians and pharmacists who consider FDA

approvals and clinical studies—to recommend including prescription opioids in formularies;

(c) based on those recommendations, sophisticated third-party administrators (which manage

plaintiffs’ prescription drug programs) decided to include various opioids in the approved

formulary options they offered to plaintiffs; and (d) as a result, plaintiffs selected one of those

options and reimbursed their enrollees for opioid prescriptions, even ones that were (allegedly)

medically inappropriate. This lengthy causal chain is stretched far too thin to support liability.

       Beyond that, plaintiffs’ own actions (and inactions) break the causal chain. As providers

of health and welfare benefits, plaintiffs have chosen to reimburse their enrollees’ opioid

prescriptions for long-term treatment of chronic non-cancer pain. They could have chosen to

reimburse opioid medications (if at all) only for short-term treatment, or only for cancer pain, or

only for acute pain. They did not. Plaintiffs do not even allege that they changed their coverage

or formularies after learning of the manufacturer defendants’ supposed wrongful conduct.

       Compounding these legal flaws is that plaintiffs have not pleaded a cognizable injury.

Plaintiffs do not allege facts showing that, for example, they reimbursed opioid medications that

were not actually prescribed or that were medically unnecessary or ineffective. They do not allege

facts showing that without the supposedly wrongful marketing, they would have categorically

disallowed coverage of opioid medications for long-term treatment of chronic non-cancer pain (a

dubious proposition, given that FDA has approved many opioid medications for precisely that

indication).   And they do not allege facts showing that they were unable to recoup their

expenditures on prescription opioids through insurance premiums. In other words, the plaintiff

health and welfare funds got exactly what they paid for—and thus have suffered no cognizable




                                                 2
    Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 12 of 36. PageID #: 18243




injury, much less one caused by the manufacturer defendants. Not surprisingly, courts across the

country have dismissed nearly identical claims brought by third-party payors seeking to recover

the costs of prescription medications under similar circumstances. See, e.g., infra §I & n.3. For

these and other reasons set forth below, the amended complaint should be dismissed with prejudice

against the manufacturer defendants.

                                       LEGAL STANDARD

         Plaintiffs’ claims must meet the plausibility standard of Bell Atlantic Corp. v. Twombly,

550 U.S. 544 (2007), and, because they sound in fraud, the particularity standard of Rule 9(b). See

Summit MTD at 5-6. The amended complaint satisfies neither.2

                                           ARGUMENT

I.       Plaintiffs have not suffered any cognizable injuries caused by the manufacturer
         defendants.

         As in Summit and West Boca, plaintiffs’ alleged injuries are reimbursements for opioid

prescriptions and treatment of individuals’ opioid addiction and abuse. Compare, e.g., 1AC ¶¶928,

960, 974, 998 with, e.g., Summit 2AC ¶¶902, 934, 948, 972 and West Boca Compl. ¶¶52-58. And

as in Summit and West Boca, plaintiffs’ alleged injuries are purely derivative of the affected

individuals’ injuries and are therefore not cognizable as a matter of law. See West Boca MTD §I;

see also Summit MTD §II.A.1; Summit Reply § IV.A.1. In fact the Sixth Circuit, joining “eight

other federal circuit[s],” squarely rejected nearly identical claims by third-party payors seeking “to

recover the increased costs of health-related expenses due to smoking” from cigarette


2
        In accordance with CMO One §2(g), the manufacturer defendants raise only certain key
“issues common to all manufacturers” that warrant dismissal. The manufacturer defendants
expressly reserve the right to later raise additional grounds for dismissal, including defendant-
specific challenges (such as insufficient service of process—some manufacturer defendants have
not yet been served—or lack of personal jurisdiction). See CMO One §2(j).



                                                  3
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 13 of 36. PageID #: 18244




manufacturers. Perry v. Am. Tobacco Co., 324 F.3d 845, 849 (6th Cir. 2003) (collecting cases).

“[T]he plaintiffs’ claims [we]re inherently contingent on injury to third-party smokers” and were

thus too “indirect” to allow recovery. Ibid. Just so here.

       Indeed the claims here are even more remote than the plaintiff hospital’s claims in West

Boca. While the hospital is obligated to provide emergency services under federal and state law,

plaintiffs here have voluntarily chosen to reimburse prescription opioids for long-term treatment

of chronic non-cancer pain. Third-party payors who “continue to cover the allegedly falsely

advertised drug on their formularies and reimburse members for prescriptions cannot, as a matter

of law, establish that they were injured by reason of or were victims of the false advertising.”

Teamsters Local 237 Welfare Fund v. AstraZeneca Pharm. LP, 136 A.3d 688, 696 (Del. 2016)

(quotation marks omitted). Nor do plaintiffs’ conclusory allegations that they were the targets of

the manufacturer defendants’ alleged misrepresentations, see 1AC ¶¶682-770, save their claims.

For one thing, the amended complaint concedes that committees of sophisticated “pharmacists,

physicians and practicing participating providers” stood between the manufacturer defendants’

alleged marketing activities and plaintiffs’ ultimate decision to give prescription opioids

“preferred” formulary status. 1AC ¶¶683-685. For another, plaintiffs notably do not allege that

they would have disallowed coverage of prescription opioids for long-term treatment of chronic

non-cancer pain but for the alleged marketing activities. Hardly surprising; after all, FDA has

approved prescription opioids for this indication, and it is implausible that plaintiffs would have

denied coverage to their enrollees for such use. Both factors break the causal chain between the

manufacturer defendants’ alleged acts and plaintiffs’ alleged injuries.

       The Seventh Circuit’s decision in Sidney Hillman Health Center v. Abbott Laboratories is

instructive. 873 F.3d 574 (7th Cir. 2017). Two health plans sued a prescription drug manufacturer




                                                 4
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 14 of 36. PageID #: 18245




for promoting off-label uses for which the drug was allegedly ineffective or harmful. Id. at 575.

Affirming dismissal of the claims, Sidney Hillman concluded that the patients who took the drug

were the “initially injured parties” and thus the appropriate plaintiffs, not the health plans. Id. at

576. And the plans’ alleged injuries were wholly speculative because some patients might have

benefited from the drug, and some physicians might have prescribed it (or refused to prescribe it)

regardless of the manufacturer’s promotional campaign. See id. at 577. “Disentangling the effects

of the improper promotions from the many other influences on physicians’ prescribing practices

would be difficult,” if not impossible. Ibid. Accordingly, the health plans had no cognizable injury

caused by the manufacturer’s promotional scheme—a conclusion Sidney Hillman viewed as “so

straightforward that” other circuits considering similar claims “have issued nonprecedential

decisions” to that effect. Id. at 578 (citing cases).

        Sidney Hillman’s rationale supports dismissal of plaintiffs’ claims. In fact it applies with

even greater force here, because most of the allegations involve promotions for on-label use—that

is, for FDA-approved indications. This makes it all the more difficult to “disentangle” the

manufacturer defendants’ marketing activities “from the many other influences on physicians’

prescribing practices.” Id. at 577. Nor have plaintiffs identified even one prescription opioid they

reimbursed that was medically unnecessary or ineffective. Plaintiffs thus got exactly what they

paid for and have suffered no injury as a matter of law. See Rivera v. Wyeth-Ayerst Labs., 283

F.3d 315, 320 (5th Cir. 2002) (plaintiff who “paid for an effective pain killer, and … received just

that” got “the benefit of her bargain” and could not allege any injury); Travelers Indem. Co. v.

Cephalon, Inc., 32 F. Supp. 3d 538, 555-556 (E.D. Pa. 2014), aff’d, 620 Fed. Appx. 82 (3d Cir.

2015) (similar).

        To the extent plaintiffs allege that they reimbursed more opioid prescriptions than they




                                                   5
    Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 15 of 36. PageID #: 18246




otherwise would have absent the manufacturer defendants’ marketing activities, they have not

alleged any resulting monetary injury. Generally speaking, “a rational insurer” “charge[s] its

enrollees higher premiums” if it offers greater coverage; “[t]hese higher premiums, in turn, would

compensate the insurer for its increased number of prescription payments, including payments for

prescriptions that were medically unnecessary or inappropriate.” Ironworkers Local Union 68 v.

AstraZeneca Pharm., LP, 634 F.3d 1352, 1360 (11th Cir. 2011). By providing prescription drug

coverage to its enrollees, plaintiffs “consciously exposed themselves to pay for all prescriptions of

[opioids], including those that were medically unnecessary or inappropriate—even if such

prescriptions were birthed by fraud.” Ibid. As in Ironworkers, plaintiffs here “have not ple[aded]

any facts to suggest plausibly that they did not charge their enrollees premiums or, in turn, adjust

those premiums to compensate for this known risk.” Id. at 1364. Absent such facts, plaintiffs

have not plausibly alleged that they suffered any injury as a result of an increased volume of

reimbursable opioid prescriptions.

         In short, courts across the country, including the Sixth Circuit, have rejected similar claims

by third-party payors seeking to recover the costs of providing covered health-care services to their

enrollees. See Perry, 324 F.3d at 849 (collecting cases); Sidney Hillman, 873 F.3d at 578 (same).3


3
        See also, e.g., In re Schering Plough Corp. Intron/Temodar Consumer Class Action, 678
F.3d 235, 246-248 (3d Cir. 2012); Ironworkers Local Union 68 v. AstraZeneca Pharm., LP, 634
F.3d 1352, 1345-1369 (11th Cir. 2011); United Food & Commercial Workers Cent. Pa. & Reg.
Health & Welfare Fund v. Amgen, Inc., 400 Fed. Appx. 255, 257 (9th Cir. 2010); Travelers Indem.
Co. v. Cephalon, Inc., 32 F. Supp. 3d 538, 555-556 (E.D. Pa. 2014), aff’d, 620 Fed. Appx. 82 (3d
Cir. 2015); Emp’r Teamsters-Local Nos. 175/505 Health & Welfare Trust Fund v. Bristol Myers
Squib Co., 969 F. Supp. 2d 463, 572-575 (S.D. W.Va. 2013); Dist. 1199P Health & Welfare Plan
v. Janssen, L.P., 784 F. Supp. 2d 508, 522-523 (D.N.J. 2011); Pa. Emp. Benefit Trust Fund v.
Zeneca, Inc., 710 F. Supp. 2d 458, 480, 485-486 (D. Del. 2010); Se. Laborers Health and Welfare
Fund v. Bayer Corp., 655 F. Supp. 2d 1270, 1287 (S.D. Fla. 2009); In re Actimmune Mktg. Litig.,
614 F. Supp. 2d 1037, 1049-1052 (N.D. Cal. 2009); In re Epogen & Aranesp Off-Label Mktg. &
Sales Practices Litig., 590 F. Supp. 2d 1282, 1289-1291 (C.D. Cal. 2008); Ironworkers Local


                                                   6
 Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 16 of 36. PageID #: 18247




This Court should do the same.

II.    The RICO marketing enterprise claim fails (Count 1).

       Plaintiffs’ marketing enterprise RICO allegations echo—nearly verbatim—those in other

MDL complaints, including Summit and West Boca. Compare 1AC ¶¶839-874 with, e.g., Summit

2AC ¶¶814-848 and West Boca Compl. ¶¶812-846. The RICO marketing enterprise claim thus

fails for the same reasons as in those cases: There is no cognizable RICO injury, no actual or

proximate causation, no plausible enterprise, and no actionable racketeering activity. See Summit

MTD §II; Summit Reply §§II.A, IV; West Boca MTD §II.

       A.      Plaintiffs have not suffered a cognizable RICO injury.

       As a threshold matter, plaintiffs cannot plead a cognizable RICO injury. As explained in

Summit, a civil RICO plaintiff must allege an injury that is “direct”; injuries “derivative [of] or

passed-on [from]” third parties are insufficient. Trollinger v. Tyson Foods, Inc., 370 F.3d 602,

614 (6th Cir. 2004); see Summit MTD §II.A; Summit Reply §IV.A. Plaintiffs’ alleged injuries—

health-care payments for enrollees related to opioid abuse, misuse, or addiction, see 1AC ¶928—

are entirely derivative of harms to those individual enrollees, and thus do not support civil RICO



Union No. 68 v. AstraZeneca Pharm. LP, 585 F. Supp. 2d 1339, 1344-1346 (M.D. Fla. 2008);
Williams v. Purdue Pharma Co., 297 F. Supp. 2d 171, 176 (D.D.C. 2003); Ind./Ky./Ohio Reg’l
Council of Carpenters Welfare Fund v. Cephalon, Inc., 2014 WL 2115498, at *6 (E.D. Pa. May
21, 2014); In re Bextra and Celebrex Mktg. Sales Practices and Prod. Liab., 2012 WL 3154957,
at *8-9 (N.D. Cal. Aug. 2, 2012); In re Actimmune Mktg. Litig., 2010 WL 3463491, at *10-11
(N.D. Cal. Sept. 1, 2010); In re Yasmin & Yaz Mktg., Sales Practices & Prods. Liab. Litig., 2010
WL 3119499, at *7-9 (S.D. Ill. Aug. 5, 2010); In re Schering Plough Corp. Intron/Temodar
Consumer Class Action, 2010 WL 2346624, at *7-8 (D.N.J. June 9, 2010), aff’d, 678 F.3d 235 (3d
Cir. 2012); Cen. Reg’l Empl. Benefit Fund v. Cephalon, Inc., 2010 WL 1257790, at *3-4 (D.N.J.
March 29, 2010); In re Schering-Plough Corp. Intron/Temodar Consumer Class Action, 2009 WL
2043604, at *10, 15-20, 24-25, 31 (D.N.J. July 10, 2009); In re Epogen & Aranesp Off-Label Mktg.
& Sales Practices Litig., 2009 WL 1703285, at *4-8 (C.D. Cal. June 17, 2009); Dist. 1199P Health
& Welfare Plan v. Janssen, L.P., 2008 WL 5413105, at *9, 11-13 (D.N.J. Dec. 23, 2008).



                                                7
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 17 of 36. PageID #: 18248




standing. Trollinger, 370 F.3d 602; see also Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 460

(2006); Summit MTD §II.A.1; Summit Reply §IV.A.1. Nor, as set forth above, is reimbursing

lawfully prescribed opioids a cognizable injury absent an allegation—missing here—that the

prescriptions for plaintiffs’ enrollees were medically inappropriate or harmful. Courts have

routinely dismissed civil RICO claims brought by third-party payors for precisely that reason. See

supra §I; see also, e.g., Ironworkers, 634 F.3d at 1363; Dist. 1199P Health & Welfare Plan v.

Janssen, L.P., 784 F. Supp. 2d 508, 522-523 (D.N.J. 2011); Se. Laborers Health and Welfare Fund

v. Bayer Corp., 655 F. Supp. 2d 1270, 1287 (S.D. Fla. 2009); Williams v. Purdue Pharma Co., 297

F. Supp. 2d 171, 176 (D.D.C. 2003).

       B.      Plaintiffs have not pleaded direct or proximate causation.

       Plaintiffs’ alleged injuries are too attenuated to establish causation. See Summit MTD

§§II.B.1, II.B.2; Summit Reply §II.A; West Boca MTD §II. Plaintiffs’ derivative injuries are too

remote for plaintiffs to plead the elements of direct and proximate causation under Holmes v. SIPC,

502 U.S. 258 (1992). See also Jackson v. Sedgwick Claims Mgmt. Servs., Inc., 731 F.3d 556, 565

(6th Cir. 2013). The causal chain here is even further attenuated because plaintiffs acknowledge

that sophisticated “third-party administrators” recommend which prescription medications

plaintiffs’ formularies ought to include; and the formularies, in turn, determine which medicines

will be reimbursed and for what amount. 1AC ¶¶682, 698; see also 1AC ¶¶682-710. The alleged

injuries here, therefore, are even further removed from the manufacturer defendants because the

proposed causal chain requires even more links: (a) Pharmacy benefit managers (like Express

Scripts) recommended formulary coverage for opioid medicines solely because of manufacturer

defendants’ purported misrepresentations, rather than the FDA-approved labeling and their own

independent knowledge and experience, see 1AC ¶¶687, 691; (b) third-party administrators (like




                                                8
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 18 of 36. PageID #: 18249




MMO) and their sophisticated committees developed formulary options that included prescription

opioids based solely on these recommendations, rather than on other independent factors and

considerations, see 1AC ¶¶684-689, 692; and (c) third-party payors (like plaintiffs) voluntarily

selected formulary options that included opioid medications, and chose to reimburse their enrollees

for prescription opioids—including for long-term treatment of chronic non-cancer pain—solely

because of this advice, rather than cost considerations, patient needs, and other variables, see 1AC

¶¶682-683, 687. These additional intervening links, coupled with the independent decision-

making of doctors, distributors, pharmacies, and patients, make the RICO claim here even more

untenable. See Anza, 547 U.S. at 460; Holmes, 502 U.S. at 268; Allegheny Gen. Hosp. v. Philip

Morris, Inc., 228 F.3d 429, 443-444 (3d Cir. 2000).

       C.      Plaintiffs have not pleaded an enterprise.

       The amended complaint does not adequately plead a marketing enterprise, including for

failure to allege a “common purpose” or a “framework or superstructure.” See Boyle v. United

States, 556 U.S. 938, 948 (2009); Ouwinga v. Benistar 419 Plan Servs., Inc., 694 F.3d 783, 793

(6th Cir. 2012); see generally Summit MTD §II.B.3; Summit Reply §IV.B.1; West Boca MTD §II.

       D.      Plaintiffs have not pleaded actionable racketeering activity.

       Finally, plaintiffs have not pleaded any predicate act with the requisite particularity. See

Summit MTD §II.B.4; Summit Reply §IV.B.2; West Boca MTD §II. Plaintiffs allege predicate acts

of federal mail and wire fraud under 18 U.S.C. §§1341 and 1343, respectively, but as in the prior

cases, plaintiffs fail to plead a single misrepresentation or omission that supposedly caused a doctor

to write a medically inappropriate prescription for any patient covered under plaintiffs’ health

plans. Missing from the amended complaint are any of the critical factual details—the “who, what,

when, and where”—of any such fraud, as required under Rule 9(b). Instead, plaintiffs broadly




                                                  9
 Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 19 of 36. PageID #: 18250




allege that they were defrauded—through their third-party administrators, who in turn were

defrauded by pharmacy benefit managers—and approved prescriptions that they otherwise would

not have approved. See 1AC ¶¶693-710; see also 1AC ¶¶711-762.

       But plaintiffs identify no specific false statements (who, what, when, where) made by any

manufacturer defendant to a pharmacy benefit manager or a third-party administrator, much less

allege reliance on those statements by plaintiffs when they chose to add opioid medications to their

formularies or to reimburse enrollees for opioid prescriptions. See Carpenters, 2014 WL 2115498,

at *6 (rejecting similar claims by third-party payors). Moreover, plaintiffs and their third-party

administrators are sophisticated entities that employ “pharmacists, physicians and practicing

participating providers,” and they have long had access to the labeling, risks, and indications for

the opioid medicines that they place on their formularies. 1AC ¶685. Given the FDA-approved

labeling and risk information, plaintiffs could not have reasonably relied on any alleged fraudulent

statements or omissions. Tellingly, plaintiffs fail to identify a single prescription that they

otherwise would not have reimbursed but for the allegedly fraudulent conduct. This is fatal to

their claims.

III.   The RICO supply-chain enterprise claim fails (Count 2).

       Plaintiffs’ allegations of a supply-chain enterprise simply parrot those in Summit. Compare

1AC ¶¶875-903 with Summit 2AC ¶¶849-877. Accordingly, they fail to state a claim for relief for

the reasons in Summit MTD §III and Summit Reply §§II.B, V.

       A.       Plaintiffs lack standing and improperly seek to circumvent the Controlled
                Substances Act.

       Plaintiffs lack prudential standing for at least two reasons. First, the alleged injuries are

purely derivative: the funds seek to recover the cost of covering their members’ treatment for

opioid and street-drug addiction and misuse, see 1AC ¶960, which the purported supply-chain


                                                10
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 20 of 36. PageID #: 18251




enterprise supposedly facilitated. As with the marketing enterprise claim, the funds’ supply-chain

enterprise claim is thus barred by the direct-injury requirement. See supra §II.A; Summit MTD

§II.A.1; Summit Reply §IV.A.1. Second, these allegations of a supply-chain enterprise attempt to

hold the manufacturer defendants liable for supposed breaches of their duties under the Controlled

Substances Act (CSA), 21 U.S.C. §§801 et seq., and related regulations to monitor for, and report,

suspicious opioid orders, 21 CFR §§1301.71-1301.74. See 1AC ¶¶472, 484, 489, 552, 939-941.

But the manufacturer defendants’ obligations under the CSA, if any, are to DEA—not to the

plaintiff health and welfare funds, which have no private right of action under the CSA and are

thus barred from using RICO to usurp the federal government’s exclusive CSA-enforcement

authority. See Summit MTD §III.A; Summit Reply §V.A.

       B.      Plaintiffs have not pleaded direct or proximate causation.

       Plaintiffs’ allegation that the supply-chain defendants’ purported CSA violations “directly

and proximately caused” the “opioid epidemic” and the plaintiff’s resulting injuries, 1AC ¶957,

fails for at least two reasons. First, the allegations do not plausibly demonstrate direct causation.

As in Summit, plaintiffs have not connected any manufacturer defendant’s alleged CSA violations

to the alleged injuries. For example, plaintiffs have not tied a CSA violation to a specific increase

in the volume of opioid shipments into Ohio, or to a specific enforcement action DEA failed to

take in Ohio, or to a specific national production quota DEA might have reduced (and a

corresponding impact in Ohio) but for the violation. See Summit MTD §III.B.1; Summit Reply

§II.B. And plaintiffs have failed to allege facts linking any of these alleged failures to a specific

opioid prescription that plaintiffs actually reimbursed.

       Second, the alleged connection between the manufacturer defendants’ purported failures to

report suspicious orders and plaintiffs’ alleged injuries is too indirect, attenuated, and speculative




                                                 11
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 21 of 36. PageID #: 18252




to establish proximate causation. See Summit MTD §III.B.2; Summit Reply II.B. Some of those

links involve unlawful conduct by third parties—for instance, the failures of distributors and

pharmacies to report their suspicious orders, or the deliberate criminal activity of rogue

pharmacies, doctors, and even patients. See, e.g., 1AC ¶¶877-879, 884-885, 889, 892, 896. Other

links are entirely speculative—for instance, that any particular patient (much less an enrollee in

one of the plaintiff funds) was harmed by the diversion of a suspicious order. Ibid.

       C.      Plaintiffs have not pleaded an enterprise.

       The amended complaint does not adequately plead a supply-chain enterprise. See Summit

MTD §III.B.3; Summit Reply §V.B.1.          The conclusory allegation of an agreement among

competitors not to report suspicious orders lacks supporting factual allegations. See 1AC ¶880.

At best, the amended complaint rests on a suggestion that each manufacturer independently

engaged in parallel, profit-seeking activity. See 1AC ¶¶875, 896. Those allegations do not make

plausible the required “common purpose.” See Summit MTD §III.B.3; Summit Reply §V.B.1. And

the allegations of participation in the Healthcare Distribution Alliance, see 1AC ¶879, merely

shows constitutionally protected petitioning and other lawful activity without identifying a

“framework or superstructure” for carrying out the supposed enterprise’s unlawful common

purpose. See Summit MTD §III.B.3; Summit Reply §V.B.1.

       D.      Plaintiffs have not pleaded actionable racketeering activity.

       Finally, the amended complaint does not plead any conduct by a manufacturer defendant

that constitutes “racketeering activity.” As in Summit, plaintiffs allege that the manufacturers

breached their obligations under the CSA and related regulations to design and operate systems to

maintain effective controls against diversion, and to identify and halt suspicious orders. See 1AC

¶¶9, 464, 469-478. But those allegations fail to state a violation of the CSA or its regulations, let




                                                 12
    Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 22 of 36. PageID #: 18253




alone ones that may serve as predicate acts of “racketeering activity.” See Summit MTD §III.B.4.a;

Summit Reply §V.B.2.a. Nothing in the CSA or its regulations requires manufacturers to monitor

or halt downstream orders, or to stop filling orders placed by registered distributors. See 21 CFR

§1301.74(b). In any event, CSA reporting violations are not felonies and so cannot constitute

predicate acts under RICO. See 21 U.S.C. §§842(a)(5), (c).

         Plaintiffs’ allegations of mail fraud, wire fraud, and DEA-reporting fraud, see 1AC ¶¶940,

942, do not save their claim. The allegations of such conduct are entirely conclusory, unsupported

by any factual detail (much less with the particularity Rule 9(b) requires), and based on the flawed

legal premise that manufacturers have a duty to monitor, report, or halt downstream orders.4 See

1AC ¶¶464-569, 857-903. As a result, they fail to state a plausible claim, much less with the

particularity required by Rule 9(b). See Summit MTD §III.B.4.b; Summit Reply §V.B.2.b.

IV.      The state-law claims are preempted.

         Federal law preempts plaintiffs’ state-law claims. See Summit MTD §IV; Summit Reply

§III; see also, e.g., Mut. Pharm. Co. v. Bartlett, 570 U.S. 472, 488-489 (2013); Strayhorn v. Wyeth

Pharm., Inc., 737 F.3d 378, 394 (6th Cir. 2013). Plaintiffs allege that the manufacturer defendants

falsely represented opioids as safe and effective for the long-term treatment of chronic, non-cancer

pain, see, e.g., 1AC ¶¶10-11, 141-145, 322, 348, 367-369, 1068—even though FDA has approved

most of the medications at issue here for exactly that purpose. And to the extent plaintiffs allege

off-label promotion, federal law preempts that claim too: “The restrictions and guidelines placed

upon pharmaceutical companies for off-label promotion entirely depend upon the statutory and

regulatory scheme created by the FDCA,” which “does not provide a private right of action” to



4
       DEA reporting fraud under 21 U.S.C. §843(a)(4) does not even qualify as a predicate act
under RICO. See Summit MTD §III.B.4.b.



                                                 13
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 23 of 36. PageID #: 18254




enforce its provisions. Perdue v. Wyeth Pharm., Inc., 209 F. Supp. 3d 847, 851-852 (E.D.N.C.

2016).

         Likewise, any claim alleging that the manufacturer defendants had a duty not to sell or ship

their prescription opioids, see 1AC ¶¶958, 964, undermines FDA’s decision to make these

medications available to the public. See Zogenix, Inc. v. Patrick, 2014 WL 1454696, at *2 (D.

Mass. Apr. 15, 2014); see also Summit MTD §IV; Summit Reply §III. Plaintiffs’ state-law claims

conflict with FDA’s regulatory decisions regarding the approval and labeling of the manufacturer

defendants’ medications, FDA’s exclusive enforcement authority with respect to off-label

promotion, and FDA’s decision to approve the manufacture and sale of these medications to the

public. See Summit MTD §IV; Summit Reply §III.

V.       The OCPA claims fail (Counts 3 and 4).

         Plaintiffs’ RICO and OCPA allegations are substantially identical to those in Summit.

Compare 1AC ¶¶839-999 with Summit 2AC ¶¶814-973. Accordingly, plaintiffs’ OCPA claims

fail for the same reasons explained in Summit MTD §V and Summit Reply §VI. Here too, “the

analysis of the federal RICO claim ‘applies equally’ to the analysis of the OCPA claim,” Aaron v.

Durrani, 2014 WL 996471, at *8 (S.D. Ohio Mar. 13, 2014), and Counts 3 and 4 should be

dismissed for the failure to plead but-for or proximate causation, see supra §§II.B, III.B; see also

supra §I; the existence of the marketing or supply-chain enterprises, see supra §§II.C, III.C; or

any actionable racketeering activity, including with the particularity required under Rule 9(b), see

supra §§II.D, III.D.

         Further, as explained in Summit MTD §V and Summit Reply §VI, plaintiffs cannot state an

OCPA claim because they do not allege a “pattern of corrupt activity.” See Ohio Rev. Code

§§2923.31(I), 2923.31(A)(I). Unlike the federal RICO statute, the OCPA requires a “pattern of




                                                 14
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 24 of 36. PageID #: 18255




corrupt activity” to “include at least one incident other than a violation of” the federal mail, wire,

or securities fraud statutes. §2923.34(A) (emphasis added). This language “refers not to the

criminal offenses asserted but to the factual allegations which underlie those criminal offenses.”

Rahimi v. St. Elizabeth Med. Ctr., 1997 WL 33426269, at *2 n.1 (S.D. Ohio July 16, 1997)

(emphases in original). Plaintiffs’ cursory allegations of Ohio telecommunications fraud, see

1AC ¶¶970, 981, 989, do not qualify as a standalone “incidents” because they are not factually

separate and distinct from the alleged mail or wire fraud. In fact plaintiffs concede that the acts

underlying the federal mail and wire fraud “also constitute a pattern of telecommunications fraud.”

1AC ¶970 (emphasis added); see also 1AC ¶981. This dooms their OCPA claim. See Ohio Rev.

Code §2923.31(E) (“incidents” must be “not so closely related to each other and connected in time

and place that they constitute a single event”); Cap City Dental Lab, LLC v. Ladd, 2016 WL

4573993, at *10 (S.D. Ohio Sept. 1, 2016); Rahimi, 1997 WL 33426269, at *2 n.1. Nor do the

alleged violations of 21 U.S.C. §843(a)(4)(A) qualify as “corrupt” acts under the OCPA, see 1AC

¶¶987, for the reasons given in Summit MTD §V, Summit Reply §VI, and supra §III.D.

VI.    OPLA abrogates the common-law and statutory public nuisance claims (Counts 5 and
       6).

       For the reasons explained in Summit MTD §VI, which in turn incorporates Summit

Distribs.’ MTD §II.A, the Ohio Product Liability Act (OPLA), Ohio Rev. Code §§2307.71 et seq.,

abrogates plaintiffs’ common-law and statutory public nuisance claims. Even if the claims were

not abrogated, they would nevertheless fail for the other, independent reasons discussed infra

§§VII and VIII.

VII.   The common-law public nuisance claim fails (Count 6).

       Plaintiffs’ allegations of a common-law public nuisance mirror the deficient allegations in

Summit, compare 1AC ¶¶1020-1060 with Summit 2AC ¶¶997-1038, and thus fail for the same


                                                 15
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 25 of 36. PageID #: 18256




reasons in Summit MTD §VII and Summit Reply §VII: (1) The economic loss rule bars the claim,

which seeks to recover purely economic losses, e.g., 1AC ¶¶20, 692, 1046, 1051; (2) plaintiffs fail

to plead that the manufacturer defendants’ conduct actually and proximately caused “an

unreasonable interference with a right common to the general public,” City of Cincinnati v. Beretta,

768 N.E.2d 1136, 1142 (Ohio 2002) (quotation marks omitted); see also supra §§I, II.B, III.B; and

(3) the claim is preempted, see supra §IV.

       Plaintiffs also have not pleaded the “particular harm” necessary to show standing. In Ohio,

“[t]he general rule is that a private individual lacks standing to pursue a public nuisance.”

Cleveland Hous. Renewal Project, Inc. v. Wells Fargo Bank, N.A., 934 N.E.2d 372, 380 (Ohio

App. 2010). Private persons, such as plaintiffs here, can recover “only where the injury suffered

is a particular harm that is of a different kind than that suffered by the public in general”—meaning

a harm that is “different in kind, rather than different in degree, from that suffered by other

members of the public exercising the public right.” Kramer v. Angel’s Path, L.L.C., 882 N.E.2d

46, 52 (Ohio App. 2007) (quotation marks omitted). Plaintiffs fail to plead any nuisance harm

different in kind from the public’s supposed harm. Compare, e.g., 1AC ¶¶20, 28-29, 692, 1046-

1047, 1051 (plaintiffs’ supposed harm) with, e.g., 1AC ¶¶16-20, 635-651, 669-676, 1029

(public’s). Quite the contrary: The alleged harm to plaintiffs is entirely derivative of the harms

purportedly suffered by the public.      See supra §§I, II.B, III.B.    This is an additional and

independent ground for dismissal.

VIII. The statutory public nuisance claim fails (Count 5).

       Plaintiffs’ statutory public nuisance claim, which invokes the same statutes as in Summit,

compare 1AC ¶¶1001, 1003, 1008, 1010 with Summit 2AC ¶¶975, 976, 984, 986, fails for many

of the same reasons discussed above and in Summit: (1) lack of causation, see supra §§I, II.B,




                                                 16
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 26 of 36. PageID #: 18257




III.B; (2) federal preemption, see supra §IV; and (3) failure to plead facts establishing a predicate

violation of a statute or regulation. See Summit MTD §VIII; Summit Reply §VII. As with the

common-law public nuisance claim, the statutory public nuisance claim fails for the independent

reason that plaintiffs fail to allege a “particular harm” that is distinct from the harms allegedly

suffered by the public. See supra §VII; Brown v. Scioto Cty. Bd. of Commrs., 622 N.E.2d 1153,

1160 (Ohio App. 1993) (requiring plaintiff to plead a “sufficiently distinct or particular harm from

the public right so as to allow recovery under a statutory public nuisance theory”).

IX.    The negligence claim fails (Count 7).

       Plaintiffs’ common-law negligence claim fails for the same reasons as in Summit: (1) The

amended complaint fails to plead any actionable conduct; (2) it fails to plead actual and proximate

causation; and (3) federal law preempts the claim. See Summit MTD §IX; Summit Reply §VIII.

       The claim also fails for two additional reasons. First, plaintiffs do not and cannot plead

that the manufacturer defendants owed a duty of care to plaintiffs. “The existence of a duty is a

question of law for a court to decide, even if resolving that question requires the court to consider

the facts or evidence.” Martin v. Lambert, 8 N.E.3d 1024, 1030 (Ohio App. 2014) (citing Grover

v. Eli Lilly & Co., 591 N.E.2d 696 (Ohio 1992)). “If there is no duty, then no legal liability can

arise on account of negligence. Where there is no obligation of care or caution, there can be no

actionable negligence.” Martin, 8 N.E.3d at 1030 (quoting Jeffers v. Olexo, 539 N.E.2d 614, 616

(Ohio 1989)). Although the amended complaint refers generally to purported duties related to

marketing and distributing opioid medications, see, e.g., 1AC ¶¶1062-1065, none of these vague

allegations identifies any cognizable common-law or statutory duty owed by the manufacturer

defendants to plaintiffs (or any other health and welfare fund). Absent a duty, the manufacturer

defendants cannot be found liable for negligence.




                                                 17
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 27 of 36. PageID #: 18258




       Second, to the extent plaintiffs assert a negligence per se claim, 1AC ¶1082-1085, that

claim also fails because under Ohio law, “a negligence per se claim cannot succeed if the

underlying statute does not allow for a private right of action.” Rogozinsky v. Danek Med., Inc.,

1999 WL 33537323, at *2 (N.D. Ohio July 9, 1999); see also Chambers v. St. Mary’s Sch., 697

N.E.2d 198, 202-203 (Ohio 1998) (no negligence per se liability for violations of administrative

rules and regulations). Plaintiffs base their negligence per se claim on a handful of federal and

Ohio statutes and regulations, see 1AC ¶1082, but none provides a private right of action. This is

fatal to the negligence per se claim. See Summit MTD §IX; Summit Reply §VIII.

X.     The fraud claim fails (Count 8).

       Plaintiffs’ fraud claim is premised on allegations of unlawful marketing and purported

failures to maintain effective controls against opioid diversion.       See 1AC ¶¶1096-1097.

Accordingly, the fraud claim fails for the same reasons as the RICO and OCPA claims, and for the

reasons explained in Summit: (1) Plaintiffs have not adequately pleaded actual and proximate

causation, see supra §§II.B, III.B; (2) they have not pleaded any actionable conduct with the

particularity required by Rule 9(b), see supra §§II.D, III.D; and (3) federal law preempts this

claim, see supra §IV. See Summit MTD §X; Summit Reply §IX.

       Nor have plaintiffs demonstrated that they justifiably relied on any allegedly fraudulent

statement, as required by Ohio law. See, e.g., Graham v. American Cyanamid Co., 350 F.3d 496,

507 (6th Cir. 2003) (“justifiable reliance upon the representation or concealment” is an essential

element of fraud under Ohio law). To the contrary, plaintiffs concede that all of the manufacturer

defendants’ allegedly fraudulent statements or omissions were made (if at all) to physicians,

pharmacists, and other entities (like pharmacy benefit managers). See, e.g., 1AC ¶¶143-145, 161-

162, 170-177, 682-770, 1096-1097. But the Supreme Court of Ohio has unequivocally held that




                                               18
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 28 of 36. PageID #: 18259




“a fraud claim cannot be predicated on … misrepresentations made to third parties.” Lucarell v.

Nationwide Mut. Ins. Co., 97 N.E.3d 458, 474 (Ohio 2018); see also Summit MTD §X; Summit

Reply §IX. Besides, the claim also fails because plaintiffs have not identified any Ohio physician

who was exposed to the allegedly deceptive marketing and who then wrote a harmful or medically

unnecessary opioid prescription for one of plaintiffs’ enrollees as a result of that marketing.

XI.    The injury through criminal acts claim fails (Count 9).

       Count 9 is a nearly verbatim restatement of the allegations in Summit. Compare 1AC

¶¶1112-1129 with Summit 2AC ¶¶1090-1107. Accordingly, this claim fails for the same reasons:

Plaintiffs do not allege a predicate criminal conviction, as required under Ohio law, and they fail

to plead a substantive violation of any of the predicate statutes. See Summit MTD §XI; Summit

Reply §X .

XII.   The unjust enrichment claim fails (Count 10).

       As in Summit, plaintiffs’ unjust enrichment claim fails because it is derivative of the other

claims. See Summit MTD §XII; Summit Reply §XI; see also Boladian v. UMG Recordings, Inc.,

123 Fed. Appx. 165, 169, 171 (6th Cir. 2005). It also fails on its own terms because plaintiffs have

not pleaded that they conferred a benefit on the manufacturer defendants, as required under Ohio

law. See Johnson v. Microsoft Corp., 834 N.E.2d 791, 799 (Ohio 2005). Instead, plaintiffs allege

in conclusory fashion that their expenditures on “healthcare services and treatment services”

“helped sustain Defendants’ businesses,” 1AC ¶1134-1135, and that they “conferred a benefit

upon Defendants by paying for Defendants’ externalities: the cost of the harms caused by

Defendants’ improper distribution practices,” 1AC ¶1136. By this language, plaintiffs presumably

intend to argue that they shouldered the manufacturer defendants’ generic “externalities,” as in

White v. Smith & Wesson, 97 F. Supp. 2d 816 (N.D. Ohio 2000). But White was decided before




                                                 19
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 29 of 36. PageID #: 18260




the Ohio Supreme Court decided Johnson, and the Northern District of Ohio has repeatedly

dismissed complaints—like the amended complaint here—that fail to allege a direct economic

transaction between the parties. See Young v. Carrier Corp., 2014 WL 6617650, at *7 (N.D. Ohio

Nov. 21, 2014); In re Whirlpool Corp. Front-Loading Washing Prods. Liab. Litig., 684 F. Supp.

2d 942, 951-953 (N.D. Ohio 2009); Hoffer v. Cooper Wiring Devices, Inc., 2007 WL 1725317, at

*5 (N.D. Ohio June 13, 2007); Randleman v. Fid. Nat’l Title Ins. Co., 465 F. Supp. 2d 812, 824

(N.D. Ohio 2006). The same result should obtain here.

XIII. The civil-conspiracy claim fails (Count 11).

       Plaintiffs’ allegations of a civil conspiracy echo those in Summit. Compare 1AC ¶¶318-

417, 500-502, 779-783, 788 with Summit 2AC ¶¶352-451, 532-534, 754-758, 763. Plaintiffs thus

fail to state a claim for the same reasons as in Summit: (1) They have not pleaded the existence of

a conspiratorial agreement between any of the 35 separate defendants; (2) they rely only on vague

and conclusory allegations of an agreement to establish a “marketing network” to “increas[e] the

supply of [prescription] opioids,” 1AC ¶¶771, 785, 1150, 1152; and (3) they fall back on the

manufacturer defendants’ participation in industry-wide trade associations, which are insufficient

as a matter of law to establish a conspiracy. See Summit MTD §XIII; Summit Reply §XII. At

bottom, plaintiffs allege at most only parallel conduct between business competitors, and not the

existence of any unlawful agreement.

XIV. All claims should be dismissed, in part, as time-barred.

       A.      The applicable statutes of limitations bar the claims.

       Dismissal on statute-of-limitations grounds is appropriate where “one can determine from

the face of the complaint that the statute of limitations has run.” Am. Premier Underwriters, Inc.

v. Nat’l R.R. Passenger Corp., 839 F.3d 458, 464 (6th Cir. 2016). Each of plaintiffs’ claims is




                                                20
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 30 of 36. PageID #: 18261




subject to a statute of limitations, the longest of which is five years. See Summit MTD §XIV.A &

n.49 (listing applicable limitations periods for each claim); see also Summit Reply §XIII. Yet the

claims rely on alleged acts or omissions stretching back to the mid-1990s. See, e.g., 1AC ¶¶156,

224, 269. Under Ohio law, each “cause of action accrue[d], and [the] statute of limitations beg[an]

to run, when the [alleged] wrongful act [was] committed.” Lutz v. Chesapeake Appalachia, L.L.C.,

717 F.3d 459, 473 (6th Cir. 2013). Accordingly, the Court should dismiss plaintiffs’ claims to the

extent they rely on alleged conduct committed before April 13, 2013—five years before plaintiffs

brought suit—by defendants named in the original complaint, and before June 18, 2013 by

defendants first named in the amended complaint. Nor can plaintiffs rely on more recent conduct

to “‘bootstrap to recover for injuries’” caused by time-barred conduct. Meros v. Dimon, 2017 WL

6508723, at *7 (S.D. Ohio Dec. 20, 2017) (quoting Klehr v. A.O. Smith Corp., 521 U.S. 179, 190

(1997)). Under black-letter law, “discrete acts that fall within the statutory time period do not

make timely acts that fall outside the time period.” Nat’l R.R. Passenger Corp. v. Morgan, 536

U.S. 101, 112 (2002).

       B.      No exception to the limitations periods applies.

       The amended complaint attempts to avoid the statutes of limitations by invoking four

putative exceptions: the discovery rule, fraudulent concealment, equitable tolling, and the

continuing violation doctrine. See 1AC ¶¶792-802. These generic allegations simply parrot those

in Summit 2AC ¶¶767-777, and so fail for the same reasons. See Summit MTD §XIV.B; Summit

Reply §XIII. Some of the allegations to support these exceptions involve acts by third parties, see,

e.g., 1AC ¶796, or acts that took place after the limitations periods had already expired, see, e.g.,

1AC ¶800. Neither can suspend any limitations periods as a matter of law. See Chandler v.

Wackenhut Corp., 465 Fed. Appx. 425, 428 (6th Cir. 2012) (“wrongful acts of a third party” do




                                                 21
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 31 of 36. PageID #: 18262




not suspend limitations period); Gould Elecs., Inc. v. Livingston Cty. Road Comm’n, 2012 WL

5817937, at *12 (E.D. Mich. May 25, 2012) (acts after limitations period expired do not toll

limitations period). At any rate, plaintiffs’ conclusory assertions should be disregarded under

Twombly and do not suspend or toll the applicable limitations periods for the reasons given in

Summit MTD §XIV.B and Summit Reply §XIII.

                                       CONCLUSION

       All claims in the amended complaint against the manufacturer defendants should be

dismissed with prejudice.




                                              22
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 32 of 36. PageID #: 18263




Dated: July 23, 2018                  Respectfully submitted,

                                      /s/ Donna M. Welch
                                      Donna M. Welch, P.C.
                                      KIRKLAND & ELLIS LLP
                                      300 North LaSalle, Chicago, IL 60654
                                      Tel: (312) 862-2000
                                      donna.welch@kirkland.com

                                      Attorney for Defendant Allergan Finance, LLC
                                      f/k/a/ Actavis, Inc. f/k/a Watson
                                      Pharmaceuticals, Inc.



                                      /s/ Steven A. Reed (consent)
                                      Steven A. Reed
                                      Eric W. Sitarchuk
                                      Rebecca J. Hillyer
                                      MORGAN, LEWIS & BOCKIUS LLP
                                      1701 Market St.
                                      Philadelphia, PA 19103-2921
                                      Tel: (215) 963-5603
                                      steven.reed@morganlewis.com
                                      eric.sitarchuk@morganlewis.com
                                      rebecca.hillyer@morganlewis.com

                                      Brian M. Ercole
                                      MORGAN, LEWIS & BOCKIUS LLP
                                      200 S. Biscayne Blvd., Suite 5300
                                      Miami, FL 33131-2339
                                      Tel: (305) 415-3000
                                      brian.ercole@morganlewis.com

                                      Attorneys for Teva Pharmaceuticals, USA,
                                      Inc.; Cephalon, Inc.; Watson Laboratories,
                                      Inc.; Actavis LLC; and Actavis Pharma, Inc.
                                      f/k/a Watson Pharma, Inc.




                                     23
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 33 of 36. PageID #: 18264




                                      /s/ Mark S. Cheffo (consent)
                                      Mark S. Cheffo
                                      Sheila L. Birnbaum
                                      Hayden A. Coleman
                                      DECHERT LLP
                                      Three Bryant Park
                                      1095 Avenue of the Americas
                                      New York, NY 10036
                                      Tel: (212) 698-3500
                                      Mark.Cheffo@dechert.com
                                      Sheila.Birnbaum@dechert.com
                                      Hayden.Coleman@dechert.com

                                      Attorneys for Defendants Purdue Pharma L.P.;
                                      Purdue Pharma Inc.; and The Purdue
                                      Frederick Company



                                      /s/ Charles C. Lifland (consent)
                                      Charles C. Lifland
                                      Sabrina H. Strong
                                      O’MELVENY & MYERS LLP
                                      400 S. Hope Street
                                      Los Angeles, CA 90071
                                      Telephone: (213) 430-6000
                                      Facsimile: (213) 430-6407
                                      clifland@omm.com
                                      sstrong@omm.com

                                      Daniel M. Petrocelli
                                      O’MELVENY & MYERS LLP
                                      1999 Avenue of the Stars, 8th Floor
                                      Los Angeles, CA 90067
                                      Telephone: (310) 553-6700
                                      Facsimile: (310) 246-6779
                                      dpetrocelli@omm.com

                                      Attorneys for Defendants Janssen
                                      Pharmaceuticals, Inc.; Johnson & Johnson;
                                      Janssen Pharmaceutica, Inc. n/k/a Janssen
                                      Pharmaceuticals, Inc.; and Ortho-McNeil-
                                      Janssen Pharmaceuticals, Inc. n/k/a Janssen
                                      Pharmaceuticals, Inc.




                                     24
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 34 of 36. PageID #: 18265




                                      /s/ Jonathan L. Stern (consent)
                                      Jonathan L. Stern
                                      Arnold & Porter Kaye Scholer LLP
                                      601 Massachusetts Ave. NW
                                      Washington, DC 20001
                                      Tel: (202) 942-5000
                                      jonathan.stern@arnoldporter.com

                                      Sean O. Morris
                                      Arnold & Porter Kaye Scholer LLP
                                      777 S. Figueroa St., Suite 4400
                                      Los Angeles, CA 90017
                                      Tel: (213) 243-4000
                                      sean.morris@arnoldporter.com

                                      Attorneys for Defendants Endo Health
                                      Solutions Inc.; Endo Pharmaceuticals Inc.;
                                      Par Pharmaceutical, Inc.; and Par
                                      Pharmaceuticals Companies, Inc.



                                      /s/ Brien T. O’Connor (consent)
                                      Brien T. O’Connor
                                      Andrew J. O’Connor
                                      ROPES & GRAY LLP
                                      Prudential Tower
                                      800 Boylston St.
                                      Boston, MA 02199-3600
                                      Tel: (617) 235-4650
                                      Brien.O’Connor@ropesgray.com
                                      Andrew.O’Connor@ropesgray.com

                                      Attorneys for Defendants Mallinckrodt LLC
                                      and SpecGx LLC




                                     25
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 35 of 36. PageID #: 18266




                                      /s/ Eric H. Zagrans (consent)
                                      Eric H. Zagrans (0013108)
                                      ZAGRANS LAW FIRM LLC
                                      6100 Oak Tree Boulevard, Suite 200
                                      Cleveland, Ohio 44131
                                      Tel: (216) 771-1000
                                      eric@zagrans.com

                                      J. Matthew Donohue
                                      Joseph L. Franco
                                      HOLLAND & KNIGHT LLP
                                      2300 U.S. Bancorp Tower
                                      111 S.W. Fifth Avenue
                                      Portland, OR 97204
                                      Tel: (503) 243-2300
                                      matt.donohue@hklaw.com
                                      joe.franco@hklaw.com

                                      Nicholas A. Sarokhanian
                                      HOLLAND & KNIGHT LLP
                                      200 Crescent Court, Suite 1600
                                      Dallas, TX 75201
                                      Tel: 214.964.9500
                                      nicholas.sarokhanian@hklaw.com

                                      Attorneys for Insys Therapeutics, Inc.




                                     26
Case: 1:17-md-02804-DAP Doc #: 777-1 Filed: 07/23/18 36 of 36. PageID #: 18267




                          LOCAL RULE 7.1(f) CERTIFICATION

       I certify that this case has been designated a “complex case” under CMO One §2(h)

[Dkt. 232], and that this memorandum adheres to the page limitations for complex cases set forth

in Local Rule 7.1(f).



Dated: July 23, 2018
                                               /s/ Donna M. Welch
                                               Donna M. Welch, P.C.
                                               KIRKLAND & ELLIS LLP
                                               300 North LaSalle, Chicago, IL 60654
                                               Tel: (312) 862-2000
                                               donna.welch@kirkland.com
